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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF NEW YORK

                                                     )
SAEED BAJWA, M.D.,
                                                     )
                           Plaintiff,        )            CASE NO. 3:l 7-CV-792 (GTS/DEP)
                                             )
          v.
                                             )
                                             )
ERIC D. HARGAN., Acting Secretary of the
                                             )
United States Department of Health and Human
                                             )
Services,
                                             )
                     Defendant.

                                         STIPULATION OF DISMISSAL

         IT IS HEREBY STIPULATED AND AGREED, by and between the parties to the above-

captioned action, plaintiff SAEED BAJWA, M.D., and defendant ERIC D. HARGAN., Acting

Secretary of the United States Department of Health and Human Services, by and through their

undersigned attorneys, that plaintiffs complaint against defendant and all claims therein be and

hereby are dismissed, with prejudice, pursuant to Fed. R. Civ. P. 41 (a)(l)(A)(ii), without costs or

fees to any party as against any other. That no party hereto is an infant or incompetent; and

         IT IS FURTHER STIPULATED AND AGREED that this Stipulation and Order may be

executed in separate counterparts and by facsimile signature, each of which shall be deemed to be

an original.

         Once this Stipulation and Order has been signed and so ordered by the Court, the Clerk of

the Court shall enter judgment in this case dismissing the action with prejudice and shall close the

case.



           D--'----ec-'---e_m_b_e_r_22_ _ _ , 2017
Dated: _ _ _
                                                         Da~
                                                         Attorney for Plaintiff
                                                         Bar Roll No. 18037
                                                         Harris, St. Laurent & Chaudhry LLP
                                                         40 Wall Street, 53rd Floor
                                                         New York, New York 10005
    Case 3:17-cv-00792-GTS-DEP Document 22 Filed 12/28/17 Page 2 of 2




Dated: _ ___,/'--Z---'-/_c_L
                          _ _ _, 2017
                                            Charles E. Roberts
                                            Assistant United States Attorney
                                            Bar Roll No. 102454
                                            Attorney for the United States
                                            United States Attorney's Office
                                            100 South Clinton Street, Ste. 900
                                            Syracuse, New York 13261




SO ORDERED: _______________________________
            Chief Judge Glenn T. Suddaby




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